                     Case 1:12-cr-00132-JMB
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     FRANCINET "Cruzy" CRUZ                                                                    Case Number:         1:12-MJ-140

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                       offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                       existed) that is
                             a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                             an offense for which the maximum sentence is life imprisonment or death.
                             an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
             (1)      There is probable cause to believe that the defendant has committed an offense
                             for which a maximum term of imprisonment of ten years or more is prescribed in
                             under 18 U.S.C.§924(c).
             (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
             (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                      Defendant is a 29-year-old Holland, Michigan, native, who has a violent, assaultive history. He has no significant
                      employment history because he is disabled, suffering from Hydrocephalus (buildup of fluids inside the skull). This is
                      treatable by prescribed mediations, and he receives disability payments from the state. He does not have any current
                      prescriptions.

                      The extent of defendant's drug history is unclear. He admits to smoking marijuana twice a month (continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   no condition or combination of conditions will assure the safety of the community if defendant is released. Defendant has a
   history of aggressive and assaultive behavior as a member of a street gang. He has a history of violating parole and has
   demonstrated that he wants to continue his close ties to his street gang life. Defendant has given no indication he would be
   any more manageable on bond than he has been on parole or probation.
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         April 20, 2012                                                               /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)


but denied any cocaine history (claiming only that he used it three times between the ages of 19 and 21). However,
according to the Texas Department of Corrections where defendant was housed, he admitted to a cocaine addiction
that lasted through 2006.

Defendant is married with several young children. However, he appears to have familial ties with another family as
well, the Holland Chapter of the street gang, Latin Kings.

Defendant has a history of assaultive behavior. Beginning when he was a juvenile, there are unverified reports he has
been involved more than ten assaults. What is certain is that he was convicted of assault and battery in 2000 and sent
to jail. He was sent to jail again the following year (2001) for domestic violence. In 2002 he was convicted of assault
with a dangerous weapon. He was initially placed on probation, but after threatening to assault his girlfriend, probation
was revoked and he served over a year in prison. He was discharged by the MDOC in June 2004.

In January 2005 defendant was charged with possession of cocaine with intent to deliver, in Texas. Between 2007 and
2009, defendant served over two years in the Texas Department of Corrections, and he was paroled on July 15, 2009.

Defendant's parole supervision was transferred to Michigan, and while defendant was on parole for the Texas
conviction, he was convicted in Michigan of possession of marijuana and sentenced to jail. He was still on parole from
the Texas conviction when the present charge arose.

In the present incident, defendant was found associating with a convicted felon, who is also a member of the Latin
Kings gang. When arrested, defendant was found with a semi-automatic pistol which had an obliterated serial number.
Defendant was prohibited from associating with gang members, convicted felons, and as a felon he was prohibited
from carrying a firearm (which was found in his coat pocket) and, felon or not, he was prohibited from carrying a firearm
with an obliterated serial number.




Part II - Written Statement of Reasons for Detention - (continued)
